Case 20-10343-LSS   Doc 1279-7   Filed 09/08/20   Page 1 of 10




         EXHIBIT 7
                     Case 20-10343-LSS           Doc 1279-7        Filed 09/08/20     Page 2 of 10


Goodman, Eric R.

From:                Schiavoni, Tancred <tschiavoni@omm.com>
Sent:                Tuesday, September 8, 2020 12:21 AM
To:                  Goodman, Eric R.
Cc:                  Stamatios Stamoulis; Rachel B. Mersky; Kirschenbaum, Andrew; James Stang; Rob Orgel; John A.
                     Morris; John W. Lucas; Linda Cantor; 'joneill@pszjlaw.com'; Mason, Richard G.; Mayer, Douglas K.;
                     Celentino, Joseph C.; Ringer, Rachael; Sharret, Jennifer; Wasson, Megan; Harron, Edwin; Zieg, Sharon;
                     bmccullough@bodellbove.com; bruce.celebrezze@clydeco.us; Taylor.Meehan@clydeco.us; Gummow,
                     Susan; Shleypak, Igor; Smethurst, Ryan; Warner, Margaret; msorem@nicolaidesllp.com; Wadley, Chris;
                     'stamoulis@swdelaw.com'; Ruggeri, James P.; Williams, Abigail W.; Weinberg, Joshua D.; Gooding,
                     Doug; Marshall, Jonathan D.; 'KMarrkand@mintz.com'; TJacobs@bradleyriley.com; John E. Bucheit;
                     David M. Caves; Winsberg, Harris B.; Lorraine Armenti; Strubeck, Louis; 'Gluck, Kristian W.'; Smith,
                     Laura; Brady, Robert; Mielke, Allison S.; Kochenash, Jared W.; mhrinewski@coughlinduffy.com;
                     craig.goldblatt@wilmerhale.com; Seligman, Gary; Criss, Ashley; Beville, Sunni P.; Axelrod, Tristan G.;
                     support@ava.law; Tim@Kosnoff.Com; Molton, David J.; Boelter, Jessica C.K.; Andolina, Michael C.;
                     Labuda, Jr., Thomas; DAbbott@mnat.com; david.l.buchbinder@usdoj.gov;
                     hannah.mccollum@usdoj.gov
Subject:             RE: Notice of Deposition of Andrew Van Arsdale and Timothy Kosnoff


External E-mail. Use caution accessing links or attachments.

Eric

We will advise the Court that you have told us Mr. Van Arsdale and Mr. Kosnoff will not appear for deposition
and believe that they are outside the jurisdiction of the Court.

Thank you for confirming this.

From: Goodman, Eric R. <EGoodman@brownrudnick.com>
Sent: Sunday, September 6, 2020 1:21 PM
To: Schiavoni, Tancred <tschiavoni@omm.com>
Cc: Stamatios Stamoulis <stamoulis@swdelaw.com>; Rachel B. Mersky <rmersky@monlaw.com>; Kirschenbaum,
Andrew <akirschenbaum@omm.com>; James Stang <jstang@pszjlaw.com>; Rob Orgel <rorgel@pszjlaw.com>; John A.
Morris <jmorris@pszjlaw.com>; John W. Lucas <jlucas@pszjlaw.com>; Linda Cantor <lcantor@pszjlaw.com>;
'joneill@pszjlaw.com' <joneill@pszjlaw.com>; Mason, Richard G. <RGMason@WLRK.com>; Mayer, Douglas K.
<DKMayer@WLRK.com>; Celentino, Joseph C. <JCCelentino@wlrk.com>; Ringer, Rachael
<RRinger@KRAMERLEVIN.com>; Sharret, Jennifer <JSharret@KRAMERLEVIN.com>; Wasson, Megan
<MWasson@KRAMERLEVIN.com>; Harron, Edwin <eharron@ycst.com>; Zieg, Sharon <SZIEG@ycst.com>;
bmccullough@bodellbove.com; bruce.celebrezze@clydeco.us; Taylor.Meehan@clydeco.us; Gummow, Susan
<sgummow@fgppr.com>; Shleypak, Igor <ishleypak@fgppr.com>; Smethurst, Ryan <rsmethurst@mwe.com>; Warner,
Margaret <mwarner@mwe.com>; msorem@nicolaidesllp.com; Wadley, Chris <cwadley@wwmlawyers.com>;
'stamoulis@swdelaw.com' <stamoulis@swdelaw.com>; Ruggeri, James P. <JRuggeri@goodwin.com>; Williams, Abigail
W. <AWilliams@goodwin.com>; Weinberg, Joshua D. <JWeinberg@goodwin.com>; Gooding, Doug
<dgooding@choate.com>; Marshall, Jonathan D. <jmarshall@choate.com>; 'KMarrkand@mintz.com'
<KMarrkand@mintz.com>; TJacobs@bradleyriley.com; John E. Bucheit <jbucheit@bradleyriley.com>; David M. Caves
<dcaves@bradleyriley.com>; Winsberg, Harris B. <harris.winsberg@troutman.com>; Lorraine Armenti
<LArmenti@coughlinduffy.com>; Strubeck, Louis <louis.strubeck@nortonrosefulbright.com>; 'Gluck, Kristian W.'
<kristian.gluck@nortonrosefulbright.com>; Smith, Laura <laura.smith@nortonrosefulbright.com>; Brady, Robert
<RBRADY@ycst.com>; Mielke, Allison S. <AMielke@ycst.com>; Kochenash, Jared W. <JKochenash@ycst.com>;
mhrinewski@coughlinduffy.com; craig.goldblatt@wilmerhale.com; Seligman, Gary <GSeligman@wiley.law>; Criss,
                                                               1
                    Case 20-10343-LSS           Doc 1279-7      Filed 09/08/20      Page 3 of 10

Ashley <ACriss@wiley.law>; Beville, Sunni P. <SBeville@brownrudnick.com>; Axelrod, Tristan G.
<TAxelrod@brownrudnick.com>; support@ava.law; Tim@Kosnoff.Com; Molton, David J.
<DMolton@brownrudnick.com>; Boelter, Jessica C.K. <jboelter@sidley.com>; Andolina, Michael C.
<mandolina@sidley.com>; Labuda, Jr., Thomas <tlabuda@sidley.com>; DAbbott@mnat.com;
david.l.buchbinder@usdoj.gov; hannah.mccollum@usdoj.gov
Subject: RE: Notice of Deposition of Andrew Van Arsdale and Timothy Kosnoff


[EXTERNAL MESSAGE]



Mr. Schiavoni,

We have reviewed the agenda for the hearing on September 9th. We are not aware of any notices being served in
connection with the matters scheduled for hearing on September 9th stating that Mr. Van Arsdale and Mr. Kosnoff
intend on offering testimony as fact witnesses at the hearing.

Mr. Van Arsdale and Mr. Kosnoff inform us that they have not been served with a subpoena. We are also informed that
absent your compliance with your obligations under the Civil Rules, the Bankruptcy Rules and the Local District Rules,
Mr. Van Arsdale and Mr. Kosnoff are not willing to appear for deposition on Tuesday, September 8th. In my prior email,
I asked if you expect to perfect service prior to Tuesday at 1:00PM, Eastern Time. At this time, we have received no
indication that you have complied with your obligations. Therefore, we presume that no depositions will be going
forward based on your email sent Friday evening. If this is incorrect, please let us know.

In addition, we have asked you to identify the factual issues that you believe make the depositions of Mr. Van Arsdale
and Mr. Kosnoff necessary. I view your email as not responsive to this request. As a threshold matter, we request that
you identify the specific factual issues raised in the motions scheduled to be heard on September 9th on which you seek
discovery, and provide an explanation as to why such factual issues are relevant to the Court’s consideration of such
motions. We may be open to providing you with written responses to specific questions, depending on your
explanation. We are also available for a meet and confer tomorrow, Monday, September 7th at 11:00AM, Eastern Time,
to discuss these matters.

Finally, per your request, below find our contact information for Mr. Kosnoff and Mr. Van Arsdale:

Timothy D. Kosnoff
Direct: 425‐803‐8201
Fax: 206‐837‐9690
Email: tim@kosnoff.com
U.S. Mailing Address:
1321 Upland Drive
PMB 4685
Houston, TX 77043
Andrew Van Arsdale
Direct: 858‐922‐1487
Fax: 619‐374‐2705
Email: andrew@avalaw.com
U.S. Mailing Address:
3667 Voltaire Street
San Diego, CA 92106

Best Regards,

                                                           2
                          Case 20-10343-LSS      Doc 1279-7        Filed 09/08/20   Page 4 of 10

Eric



Eric R. Goodman
Partner

BROWN RUDNICK LLP
601 Thirteenth Street NW Suite 600
Washington, DC 20005
T: 202.536.1740
M: 216.235.4242
egoodman@brownrudnick.com
www.brownrudnick.com


From: Schiavoni, Tancred <tschiavoni@omm.com>
Sent: Saturday, September 5, 2020 5:41 PM
To: Goodman, Eric R. <EGoodman@brownrudnick.com>
Cc: Stamatios Stamoulis <stamoulis@swdelaw.com>; Rachel B. Mersky <rmersky@monlaw.com>; Kirschenbaum,
Andrew <akirschenbaum@omm.com>; James Stang <jstang@pszjlaw.com>; Rob Orgel <rorgel@pszjlaw.com>; John A.
Morris <jmorris@pszjlaw.com>; John W. Lucas <jlucas@pszjlaw.com>; Linda Cantor <lcantor@pszjlaw.com>;
'joneill@pszjlaw.com' <joneill@pszjlaw.com>; Mason, Richard G. <RGMason@WLRK.com>; Mayer, Douglas K.
<DKMayer@WLRK.com>; Celentino, Joseph C. <JCCelentino@wlrk.com>; Ringer, Rachael
<RRinger@KRAMERLEVIN.com>; Sharret, Jennifer <JSharret@KRAMERLEVIN.com>; Wasson, Megan
<MWasson@KRAMERLEVIN.com>; Harron, Edwin <eharron@ycst.com>; Zieg, Sharon <SZIEG@ycst.com>;
bmccullough@bodellbove.com; bruce.celebrezze@clydeco.us; Taylor.Meehan@clydeco.us; Gummow, Susan
<sgummow@fgppr.com>; Shleypak, Igor <ishleypak@fgppr.com>; Smethurst, Ryan <rsmethurst@mwe.com>; Warner,
Margaret <mwarner@mwe.com>; msorem@nicolaidesllp.com; Wadley, Chris <cwadley@wwmlawyers.com>;
'stamoulis@swdelaw.com' <stamoulis@swdelaw.com>; Ruggeri, James P. <JRuggeri@goodwin.com>; Williams, Abigail
W. <AWilliams@goodwin.com>; Weinberg, Joshua D. <JWeinberg@goodwin.com>; Gooding, Doug
<dgooding@choate.com>; Marshall, Jonathan D. <jmarshall@choate.com>; 'KMarrkand@mintz.com'
<KMarrkand@mintz.com>; TJacobs@bradleyriley.com; John E. Bucheit <jbucheit@bradleyriley.com>; David M. Caves
<dcaves@bradleyriley.com>; Winsberg, Harris B. <harris.winsberg@troutman.com>; Lorraine Armenti
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<kristian.gluck@nortonrosefulbright.com>; Smith, Laura <laura.smith@nortonrosefulbright.com>; Brady, Robert
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mhrinewski@coughlinduffy.com; craig.goldblatt@wilmerhale.com; Seligman, Gary <GSeligman@wiley.law>; Criss,
Ashley <ACriss@wiley.law>; Beville, Sunni P. <SBeville@brownrudnick.com>; Axelrod, Tristan G.
<TAxelrod@brownrudnick.com>; support@ava.law; Tim@Kosnoff.Com; Molton, David J.
<DMolton@brownrudnick.com>; Boelter, Jessica C.K. <jboelter@sidley.com>; Andolina, Michael C.
<mandolina@sidley.com>; Labuda, Jr., Thomas <tlabuda@sidley.com>; DAbbott@mnat.com;
david.l.buchbinder@usdoj.gov; hannah.mccollum@usdoj.gov; Schiavoni, Tancred <tschiavoni@omm.com>
Subject: RE: Notice of Deposition of Andrew Van Arsdale and Timothy Kosnoff

External E-mail. Use caution accessing links or attachments.


Eric

     I attach the agenda for the hearing on September 8. The motions listed
on the agenda as agenda items 8, 9, 10 and 11 are all contested. The
notices were served in connection with those matters and request the
appearance of Mr. Van Arsdale and Mr. Kasnoff to offer testimony on the
disputed factual issues in connection with these three motions.
                                                               3
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     Mr. Van Arsdale and Mr. Kasnoff sign your retention agreement which
states that you act on behalf of the signing firms. And Mr. Kasnoff describes
himself as the founder of your client the coalition. We respectfully ask that
you and they comply. If Mr. Van Arsdale and Mr. Kasnoff will not appear
and/or you or they claim that they are outside the jurisdiction of the Court,
we ask that you let us know before Tuesday.

     If you want us to communicate with them directly (they are listed on
your email), please let us know and give us the best contact number you
recommend using with them.

       Thank you.

From: Goodman, Eric R. <EGoodman@brownrudnick.com>
Sent: Saturday, September 5, 2020 5:20 PM
To: Schiavoni, Tancred <tschiavoni@omm.com>; Kirschenbaum, Andrew <akirschenbaum@omm.com>; James Stang
<jstang@pszjlaw.com>; Rob Orgel <rorgel@pszjlaw.com>; John A. Morris <jmorris@pszjlaw.com>; John W. Lucas
<jlucas@pszjlaw.com>; Linda Cantor <lcantor@pszjlaw.com>; 'joneill@pszjlaw.com' <joneill@pszjlaw.com>; Mason,
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<JCCelentino@wlrk.com>; Ringer, Rachael <RRinger@KRAMERLEVIN.com>; Sharret, Jennifer
<JSharret@KRAMERLEVIN.com>; Wasson, Megan <MWasson@KRAMERLEVIN.com>; Harron, Edwin
<eharron@ycst.com>; Zieg, Sharon <SZIEG@ycst.com>; bmccullough@bodellbove.com; bruce.celebrezze@clydeco.us;
Taylor.Meehan@clydeco.us; Gummow, Susan <sgummow@fgppr.com>; Shleypak, Igor <ishleypak@fgppr.com>;
Smethurst, Ryan <rsmethurst@mwe.com>; Warner, Margaret <mwarner@mwe.com>; msorem@nicolaidesllp.com;
Wadley, Chris <cwadley@wwmlawyers.com>; 'stamoulis@swdelaw.com' <stamoulis@swdelaw.com>; Ruggeri, James P.
<JRuggeri@goodwin.com>; Williams, Abigail W. <AWilliams@goodwin.com>; Weinberg, Joshua D.
<JWeinberg@goodwin.com>; Gooding, Doug <dgooding@choate.com>; Marshall, Jonathan D.
<jmarshall@choate.com>; 'KMarrkand@mintz.com' <KMarrkand@mintz.com>; TJacobs@bradleyriley.com; John E.
Bucheit <jbucheit@bradleyriley.com>; David M. Caves <dcaves@bradleyriley.com>; Winsberg, Harris B.
<harris.winsberg@troutman.com>; Lorraine Armenti <LArmenti@coughlinduffy.com>; Strubeck, Louis
<louis.strubeck@nortonrosefulbright.com>; 'Gluck, Kristian W.' <kristian.gluck@nortonrosefulbright.com>; Smith, Laura
<laura.smith@nortonrosefulbright.com>; Brady, Robert <RBRADY@ycst.com>; Mielke, Allison S. <AMielke@ycst.com>;
Kochenash, Jared W. <JKochenash@ycst.com>; mhrinewski@coughlinduffy.com; craig.goldblatt@wilmerhale.com;
Seligman, Gary <GSeligman@wiley.law>; Criss, Ashley <ACriss@wiley.law>; Beville, Sunni P.
<SBeville@brownrudnick.com>; Axelrod, Tristan G. <TAxelrod@brownrudnick.com>; support@ava.law;
Tim@Kosnoff.Com; Molton, David J. <DMolton@brownrudnick.com>; Boelter, Jessica C.K. <jboelter@sidley.com>;
Andolina, Michael C. <mandolina@sidley.com>; Labuda, Jr., Thomas <tlabuda@sidley.com>; DAbbott@mnat.com;
Martin, Ernest <Ernest.Martin@haynesboone.com>; Azer, Adrian <Adrian.Azer@haynesboone.com>;
david.l.buchbinder@usdoj.gov; hannah.mccollum@usdoj.gov
Cc: Stamatios Stamoulis <stamoulis@swdelaw.com>; Rachel B. Mersky <rmersky@monlaw.com>
Subject: RE: Notice of Deposition of Andrew Van Arsdale and Timothy Kosnoff


[EXTERNAL MESSAGE]


                                                          4
                          Case 20-10343-LSS     Doc 1279-7       Filed 09/08/20       Page 6 of 10



Mr. Schiavoni,

We have reviewed your Amended Notices. Other than adding the word “Amended” to the heading and removing
reference to the Federal Rules, the Bankruptcy Rules and the Local District Rules, these appear to be no different than
the Notices you sent Friday evening. The Amended Notices do not include any exhibits identifying the areas of the
proposed depositions, which motion(s) scheduled for hearing on September 9th they are related to, or what factual
issues they are related to. We respectfully ask that you clarify which motion and which factual issue(s) that you believe
make the proposed depositions necessary.

In your email you indicate that you want to depose Mr. Van Arsdale and Mr. Kosnoff as fact witnesses. We do not
represent Mr. Van Arsdale or Mr. Kosnoff in their individual capacity and do not have authority to accept service on their
behalf. Can you please confirm whether Mr. Van Arsdale and Mr. Kosnoff have been served in accordance with Civil
Rule 30(a)(1) and Civil Rule 45 and, if not, whether you expect to perfect service prior to Tuesday at 1:00PM, Eastern
Time.

Best Regards,
Eric



Eric R. Goodman
Partner

BROWN RUDNICK LLP
601 Thirteenth Street NW Suite 600
Washington, DC 20005
T: 202.536.1740
M: 216.235.4242
egoodman@brownrudnick.com
www.brownrudnick.com


From: Schiavoni, Tancred <tschiavoni@omm.com>
Sent: Saturday, September 5, 2020 3:36 PM
To: Goodman, Eric R. <EGoodman@brownrudnick.com>; Kirschenbaum, Andrew <akirschenbaum@omm.com>; James
Stang <jstang@pszjlaw.com>; Rob Orgel <rorgel@pszjlaw.com>; John A. Morris <jmorris@pszjlaw.com>; John W. Lucas
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<SBeville@brownrudnick.com>; Axelrod, Tristan G. <TAxelrod@brownrudnick.com>; support@ava.law;
                                                            5
                     Case 20-10343-LSS           Doc 1279-7        Filed 09/08/20   Page 7 of 10

Tim@Kosnoff.Com; Molton, David J. <DMolton@brownrudnick.com>; Boelter, Jessica C.K. <jboelter@sidley.com>;
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Tarr@BlankRome.com; david.l.buchbinder@usdoj.gov; hannah.mccollum@usdoj.gov
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<tschiavoni@omm.com>
Subject: RE: Notice of Deposition of Andrew Van Arsdale and Timothy Kosnoff

External E-mail. Use caution accessing links or attachments.

Eric

After exchanging an email with you about this, we amended the deposition notices for your clients to make
clear that they are noticed as fact witnesses in connection with the contested matters that are the subject of the
hearing on September 9. I attach copies of amended notices. We can have a court reporter present on
Tuesday at the locations where Tim and Andrew will appear or can have the court reporter on zoom. Please
let us know their preference in this regard.

We were only provided with documents late Friday by the Coilation, as you know.

Thank you.

From: Goodman, Eric R. <EGoodman@brownrudnick.com>
Sent: Saturday, September 5, 2020 11:19 AM
To: Kirschenbaum, Andrew <akirschenbaum@omm.com>; James Stang <jstang@pszjlaw.com>; Rob Orgel
<rorgel@pszjlaw.com>; John A. Morris <jmorris@pszjlaw.com>; John W. Lucas <jlucas@pszjlaw.com>; Linda Cantor
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Tarr@BlankRome.com; david.l.buchbinder@usdoj.gov; hannah.mccollum@usdoj.gov
Cc: Schiavoni, Tancred <tschiavoni@omm.com>; Stamatios Stamoulis <stamoulis@swdelaw.com>; Rachel B. Mersky
<rmersky@monlaw.com>
Subject: RE: Notice of Deposition of Timothy Kosnoff



                                                               6
                          Case 20-10343-LSS   Doc 1279-7    Filed 09/08/20     Page 8 of 10

[EXTERNAL MESSAGE]



Mr. Schiavoni,

We are in receipt of the Notices of Depositions of two of the personal injury counsel sent out late
yesterday. We did not receive a copy of any exhibits identifying the areas the proposed depositions are
intended to address or what pending matter(s) they are related to. We do not know if this was an error or if
there was a reason this was omitted. We also are surprised by the last minute timing of a Friday late afternoon
before a holiday weekend filing a Notice of Deposition for a deposition on the next business day.

We have no interest in interfering with any legitimate process or in causing any delay. We leave it to the
individual deponents to address the timing and propriety of the Notices and issues they may have concerning
scope. However, in order to address the Coalition’s interests we need confirmation of the intended scope and
which pending motions/adversaries the depositions are intended to be related to. We also preserve any issues
related to privilege between the Deponents and the Coalition and its counsel.

We note that the Deponents are counsel to some of the Coalition members and as such there may be privilege
issues that could arise during the deposition. Once we are provided with the intended scope of the proposed
depositions and the pleadings they relate to we may be able to resolve any issues before they arise and save
time and avoid any unnecessary judicial involvement.

Best Regards,
Eric



Eric R. Goodman
Partner

BROWN RUDNICK LLP
601 Thirteenth Street NW Suite 600
Washington, DC 20005
T: 202.536.1740
M: 216.235.4242
egoodman@brownrudnick.com
www.brownrudnick.com


From: Kirschenbaum, Andrew <akirschenbaum@omm.com>
Sent: Friday, September 4, 2020 4:27 PM
To: James Stang <jstang@pszjlaw.com>; Rob Orgel <rorgel@pszjlaw.com>; John A. Morris <jmorris@pszjlaw.com>; John
W. Lucas <jlucas@pszjlaw.com>; Linda Cantor <lcantor@pszjlaw.com>; 'joneill@pszjlaw.com' <joneill@pszjlaw.com>;
Mason, Richard G. <RGMason@WLRK.com>; Mayer, Douglas K. <DKMayer@WLRK.com>; Celentino, Joseph C.
<JCCelentino@wlrk.com>; Ringer, Rachael <RRinger@KRAMERLEVIN.com>; Sharret, Jennifer
<JSharret@KRAMERLEVIN.com>; Wasson, Megan <MWasson@KRAMERLEVIN.com>; Harron, Edwin
<eharron@ycst.com>; Zieg, Sharon <SZIEG@ycst.com>; bmccullough@bodellbove.com; bruce.celebrezze@clydeco.us;
Taylor.Meehan@clydeco.us; Gummow, Susan <sgummow@fgppr.com>; Shleypak, Igor <ishleypak@fgppr.com>;
Smethurst, Ryan <rsmethurst@mwe.com>; Warner, Margaret <mwarner@mwe.com>; msorem@nicolaidesllp.com;
Schiavoni, Tancred <tschiavoni@omm.com>; Kirschenbaum, Andrew <akirschenbaum@omm.com>; Wadley, Chris
<cwadley@wwmlawyers.com>; 'stamoulis@swdelaw.com' <stamoulis@swdelaw.com>; Ruggeri, James P.
<JRuggeri@goodwin.com>; Williams, Abigail W. <AWilliams@goodwin.com>; Weinberg, Joshua D.
<JWeinberg@goodwin.com>; Gooding, Doug <dgooding@choate.com>; Marshall, Jonathan D.
<jmarshall@choate.com>; 'KMarrkand@mintz.com' <KMarrkand@mintz.com>; TJacobs@bradleyriley.com; John E.
Bucheit <jbucheit@bradleyriley.com>; David M. Caves <dcaves@bradleyriley.com>; Winsberg, Harris B.
<harris.winsberg@troutman.com>; Lorraine Armenti <LArmenti@coughlinduffy.com>; Strubeck, Louis

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<louis.strubeck@nortonrosefulbright.com>; 'Gluck, Kristian W.' <kristian.gluck@nortonrosefulbright.com>; Smith, Laura
<laura.smith@nortonrosefulbright.com>; Brady, Robert <RBRADY@ycst.com>; Mielke, Allison S. <AMielke@ycst.com>;
Kochenash, Jared W. <JKochenash@ycst.com>; mhrinewski@coughlinduffy.com; craig.goldblatt@wilmerhale.com;
Seligman, Gary <GSeligman@wiley.law>; Criss, Ashley <ACriss@wiley.law>; Beville, Sunni P.
<SBeville@brownrudnick.com>; Axelrod, Tristan G. <TAxelrod@brownrudnick.com>; support@ava.law;
Tim@Kosnoff.Com; Molton, David J. <DMolton@brownrudnick.com>; Boelter, Jessica C.K. <jboelter@sidley.com>;
Andolina, Michael C. <mandolina@sidley.com>; Labuda, Jr., Thomas <tlabuda@sidley.com>; DAbbott@mnat.com;
Martin, Ernest <Ernest.Martin@haynesboone.com>; Azer, Adrian <Adrian.Azer@haynesboone.com>;
Tarr@BlankRome.com; david.l.buchbinder@usdoj.gov; hannah.mccollum@usdoj.gov
Cc: Schiavoni, Tancred <tschiavoni@omm.com>; Stamatios Stamoulis <stamoulis@swdelaw.com>
Subject: Notice of Deposition of Timothy Kosnoff

External E-mail. Use caution accessing links or attachments.

Please see the attached deposition notice for Mr. Kosnoff on Tuesday, Sept. 8, 2020 at 3:00 p.m. ET.

O’Melveny
Andrew L. Kirschenbaum
Associate
akirschenbaum@omm.com
O: +1-212-728-5878

O’Melveny & Myers LLP
Times Square Tower
7 Times Square
New York, NY 10036
Website | LinkedIn | Twitter
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